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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 BRENTON SMITH,

          Plaintiff,
                                              Civil Action File No.
 v.                                           1:25-CV-00066-SEG

 THE UNITED STATES OF AMERICA
 and PAMELA J. BONDI, United States
 Attorney-General,

          Defendants.

                         DEFENDANTS’ MOTION TO DISMISS
                          AND BRIEF IN SUPPORT THEREOF

         The United States of America and Pamela J. Bondi, 1 United States Attorney

General (“Defendants”) move to dismiss Plaintiff Brenton Smith ‘s Complaint for

a Civil Case (Doc. 1) (“Compl.”) and, in support, show as follows.


I.       INTRODUCTION AND BACKGROUND

         Plaintiff Brenton Smith, pro se, is seeking an injunction that stays the

enforcement of The Social Security Fairness Act (SSFA) and requires Congress to

“pay for its excesses from the General Fund.” Compl. at 5. Smith alleges that the




      1 Pursuant to Fed. R. Civ. P. 25(d), current U.S. Attorney General Pamela

Bondi is automatically substituted for former U.S. Attorney General Merrick
Garland.
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SSFA, which was signed into law by President Biden on January 6, 2025, causes

“overly generous benefits” to be given to individuals who choose to work for an

employer who does not participate in Social Security. Compl. at 4. He contends

that this creates a financial incentive to opt out of Social Security, thus shifting

the cost to individuals who work for employers who do participate in the

program. See id. As a result, Smith alleges, the SSFA does not aid the “general

welfare” of the country. See id.

         Smith’s complaint should be dismissed for lack of subject matter

jurisdiction and failure to state a claim. As to the former, Smith lacks Article III

standing because he alleges only generalized grievances about the conduct of

government rather than any concrete and particularized injury to himself. As to

the latter, even if Smith had standing, he has failed to state a claim for a

constitutional violation or any other private right of action. Accordingly, this

Court should dismiss Smith’s complaint.

II.      ARGUMENT AND CITATION TO AUTHORITY

      A. This Court lacks subject matter jurisdiction over the complaint because
         Smith fails to allege facts demonstrating Article III standing.

         Federal Rule of Civil Procedure 12(b)(1) authorizes a party to move to

dismiss a claim for lack of subject matter jurisdiction. If the Court lacks subject

matter jurisdiction, it must dismiss the claim. Fed. R. Civ. P. 12(h)(3). The



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plaintiff bears the burden of showing that subject matter jurisdiction exists. OSI,

Inc. v. United States, 285 F.3d 947, 951 (11th Cir. 2002).

        “Federal courts are courts of limited jurisdiction.” Gardner v. Mutz, 962

F.3d 1329, 1336 (11th Cir. 2020) (quoting Kokkonen v. Guardian Life Ins. Co. of Am.,

511 U.S. 375, 377 (1994)). “The most notable—and most fundamental—limits on

federal ‘judicial Power’ are specified in Article III of the Constitution, which

grants federal courts jurisdiction over only enumerated categories of ‘Cases’ and

‘Controversies.’” Id. (citing U.S. Const., art. III, § 2). Standing is a threshold and

essential part of the case-or-controversy requirement. Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560-62 (1992).

        At the pleading stage, the plaintiff must clearly allege facts demonstrating

each of the three elements of standing: (a) an injury in fact, (b) that is fairly

traceable to the challenged conduct of the defendants, and (c) that is likely to be

redressed by a favorable judicial decision. Spokeo, Inc. v. Robins, 578 U.S. 330, 338

(2016). When a plaintiff lacks Article III standing, a district court lacks

jurisdiction to consider the merits of the plaintiff’s claim. Gardner, 962 F.3d at

1344.

        An “injury in fact” requires a plaintiff to show “an invasion of a legally

protected interest that is both concrete and particularized and actual or

imminent, not conjectural or hypothetical.” Wood v. Raffensperger, 981 F.3d 1307,

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1314 (11th Cir. 2020) (citation omitted). The injury must affect the plaintiff “in a

personal and individual way” and not be “abstract.” Spokeo, 578 U.S. at 339.

Generalized grievances about the conduct of government, “no matter how

sincere,” cannot support standing. Wood, 981 F.3d at 1314 (quoting Hollingsworth

v. Perry, 570 U.S. 693, 706 (2013)). A generalized grievance is one that is

“undifferentiated and common to all members of the public” and alleges an

injury to one’s general interest in having the government follow the law. Wood,

981 F.3d at 1314. As the Eleventh Circuit has explained, generalized grievances

“are more appropriately addressed in the representative branches.” State of

Alabama v. U.S. E.P.A., 871 F.2d 1548, 1555 (11th Cir. 1989).

      In Wood, the Eleventh Circuit affirmed dismissal of a suit to enjoin

certification of the 2020 presidential election results in Georgia based on lack of

standing where the plaintiff alleged that certain absentee-ballot and recount

procedures in Georgia violated Georgia law. Wood, 981 F.3d at 1310. In holding

that the plaintiff had alleged an impermissible generalized grievance rather than

a particularized injury, the court observed that the plaintiff’s interest in

compliance with state election laws was no different “from that of any other

person” and that “any Georgia voter could [have brought] an identical suit.” Id.

at 1314.




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      More recently, in Swanson v. Sec’y of State, No. 23-11738, 2024 WL 80577

(11th Cir. Jan. 8, 2024), the Eleventh Circuit similarly affirmed the dismissal of a

suit based on lack of standing where the plaintiff alleged that the 2022 U.S.

Senate runoff election in Georgia was unconstitutional. Id. at *1-*2. There, the

plaintiff alleged that the Seventeenth Amendment—providing for the popular

election of U.S. Senators—does not apply in Georgia. Id. at *1. He claimed that

he suffered an “injury in fact” because, due to the alleged unconstitutionality of

the election, he was forced to cast an “illegal ballot” that could subject him to

criminal prosecution. Id. The Eleventh Circuit disagreed, however, explaining

that the plaintiff’s allegation “amounts to nothing more than a generalized

grievance against the government.” Id. The court identified that the plaintiff

could not describe “how his desire to defend the Constitution differs from any of

his fellow citizens” or “how the possible criminal prosecution is a grievance

undifferentiated from everyone else who voted in the election.” Id. (emphasis in

original).

      Here, Smith has not identified any specific injury—actual or imminent--

that he has sustained as a result of the SSFA. He has not identified any decrease

or loss of benefits that he suffered. At most, he speculates that he may suffer a

possible reduction of benefits in the future if the funding of the trust fund is not

addressed; however, he implicitly acknowledges the speculative nature of his

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alleged injury when he concedes that Congress may take actions in the future to

address the funding of the trust fund “such that I am not affected as an

individual.” See id. at 20. This type of speculative injury is insufficient to satisfy

the injury-in-fact component of Article III standing.

      Moreover, Smith’s alleged injury is not specific to him; he alleges it would

be shared by all benefit recipients, including the individuals who would benefit

from the SSFA. He alleges that the government’s enactment of the SSFA will

cause an “estimated loss to all people 18 and over.” Compl. at 4. He alleges that

“tens [of] millions of citizens who are approaching retirement [and] those in their

immediate circle” are harmed by the SSFA. See id. at 7. He argues that “virtually

every American is affected” by the SSFA. See id. at 24. In short, Smith alleges the

type of generalized injury that precludes a finding of injury in fact.

      Accordingly, like the plaintiffs in Wood and Swanson, Smith has failed to

allege an “injury in fact” sufficient to confer Article III standing, and his

complaint should be dismissed on that basis.

   B. Even if Smith had standing, he has failed to state a claim for a
      constitutional violation.

      Federal Rule of Civil Procedure 12(b)(6) authorizes a party to move to

dismiss when the plaintiff has failed to allege facts sufficient to state a claim

upon which relief can be granted. To state a plausible claim for relief, the

plaintiff must plead factual content that “allows the Court to draw the reasonable
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inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009). Here, Smith does not identify an actionable claim

against the United States, let alone allege facts sufficient to support such a claim.

Although he appears to challenge the constitutionality of the SSFA, he does not

allege any specific constitutional right that has been violated or specific facts that

could state a plausible constitutional challenge. As a result, his complaint must

be dismissed on this basis as well.

III.   CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court

dismiss Smith’s complaint for lack of subject matter jurisdiction or, alternatively,

for his failure to state a claim upon which relief can be granted.

       Respectfully submitted, this 17th day of March, 2025.

                                               RICHARD S. MOULTRIE, JR.
                                               United States Attorney

                                               /s/Neeli Ben-David
                                               NEELI BEN-DAVID
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                                               Counsel for Defendants


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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the document to which this certificate is attached have

been prepared in Book Antiqua font, 13-point type, which is one of the font and

point selections approved by the Court in N.D. Ga. L.R. 5.1(C).

      This 17th day of March, 2025.

                                            /s/Neeli Ben-David
                                            Assistant United States Attorney
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                           CERTIFICATE OF SERVICE

      I hereby certify that I have served a copy of the foregoing document upon

the pro se plaintiff in this case by depositing a true and correct copy of the same

in the United States mail with adequate postage affixed thereto to ensure

delivery, addressed as follows:

             Brenton Smith
             3961 Emerson Street
             Marietta, GA 30062

      This 17th day of March, 2025.

                                              /s/Neeli Ben-David
                                              Assistant United States Attorney

                                              Counsel for Defendants
